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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

SOCIAL POSITIONING INPUT              §
SYSTEMS, LLC,                         §
                                      §
      Plaintiff,                      §              Case No: 4:21-cv-03145
                                      §
vs.                                   §              PATENT CASE
                                      §
ADVANCED TRACKING                     §              JURY TRAIL DEMANDED
TECHNOLOGIES, INC.,                   §
                                      §
      Defendant.                      §
_____________________________________ §

            NOTICE OF VOLUNTARY DISMISSAL WITHOUT PREJUDICE

       Plaintiff Social Positing Input Systems, LLC (“Plaintiff” and/or “SPIS”) files this Notice

of Voluntary Dismissal Without Prejudice pursuant to Federal Rule of Civil Procedure

41(a)(1)(A)(i). According to Rule 41(a)(1)(A)(i), an action may be dismissed by the plaintiff

without order of court by filing a notice of dismissal at any time before service by the adverse

party of an answer. Accordingly, Plaintiff hereby voluntarily dismisses this action against

Defendant Advanced Tracking Technologies, Inc. without prejudice, pursuant to Rule

41(a)(1)(A)(i) with each party to bear its own fees and costs.




NOTICE OF VOLUNTARY DISMISSAL WITHOUT PREJUDICE                                           |1
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Dated: November 17, 2021.               Respectfully submitted,


                                        /s/ Jay Johnson
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                                        D. BRADLEY KIZZIA
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                                        ATTORNEYS FOR PLAINTIFF

                               CERTIFICATE OF SERVICE

        The undersigned hereby certifies that the foregoing document was filed electronically on
November 17, 2021, and was served via CM/ECF on all counsel who are deemed to have consented
to electronic service.
                                         /s/Jay Johnson
                                         JAY JOHNSON




NOTICE OF VOLUNTARY DISMISSAL WITHOUT PREJUDICE                                          |2
